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                                                                         November 3, 2020

BY ECF

The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

RE: United States v. Kenneth Garcia
    19 Cr. 793 (JMF)

Dear Judge Furman:

       I write on behalf of the parties in response to the Court’s Order dated October
30, 2020 regarding the upcoming change-of-plea and sentencing hearing in the above-
captioned case, scheduled for November 19, 2020. Dkt. No. 35. To provide the
parties adequate time to finalize sentencing-related matters, including an agreement
regarding restitution, and given Covid-19’s persistent interference with the ability to
safely conduct in-person proceedings, the parties jointly and respectfully request that
the Court adjourn this matter by 60 days. The defense consents to the exclusion of
this additional period of delay from the Speedy Trial Act under 18 U.S.C. §
3161(h)(7)(A).

                                                                         Respectfully Submitted,


                                                                         Andrew J. Dalack, Esq.
                                                                         Assistant Federal Defender
                                                                         (646) 315-1527

                                                                         Counsel for Kenneth Garcia
Cc (via ECF): AUSA Michael Herman
Application GRANTED. The change-of-plea and sentencing are hereby ADJOURNED to January 21, 2021, at 10:30 a.m.
The Court excludes time from today to January 21, 2021, under the Speedy Trial Act, finding that the interest in excluding
that time outweighs the interests of the public and the Defendant in a speedy trial to permit the parties to resolve the issue
of restitution and to confer with the Defendant regarding a disposition. The Clerk of Court is directed to terminate. Doc.
#36. SO ORDERED.


                                              November 4, 2020
